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 7
                              UNITED STATES DISTRICT COURT
 8                      WESTERN DISTRICT OF WASHINGTON AT SEATTLE
 9   MARK GERMACK DDS, individually and on
10   behalf of all others similarly situated,
                                                            No.
11                                            Plaintiff,
                                                            COMPLAINT—CLASS ACTION
12          v.
                                                            JURY DEMAND
13   THE DENTISTS INSURANCE COMPANY,

14                                      Defendant.
15
                                         I.         INTRODUCTION
16

17          Plaintiff, Mark Germack DDS (“Germack”), individually and on behalf of all other

18   similarly situated members of the defined national class and the defined Washington subclasses

19   (the “Class Members”), by and through the undersigned attorneys, brings this class action against
20
     Defendant The Dentists Insurance Company (“Defendant” or “TDIC”) and alleges as follows
21
     based on personal knowledge and information and belief:
22
                                  II.    JURISDICTION AND VENUE
23
            1.       This Court has subject matter jurisdiction pursuant to the Class Action Fairness
24

25   Act of 2005, 28 U.S.C. § 1332(d), because at least one Class member is of diverse citizenship

26   from Defendant, there are 100 or more Class members nationwide, and the aggregate amount in

     COMPLAINT—CLASS ACTION - 1                                         K E L L E R R O H R B AC K    L.L.P.
                                                                            1201 Third A venue, Suite 3200
                                                                               Seattle, W A 98101-3052
                                                                            TELEPHONE: (206) 623-1900
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 1   controversy exceeds $5,000,000. The Court has supplemental jurisdiction over Plaintiff’s state
 2   law claims under 28 U.S.C. § 1367.
 3
             2.       Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(3) because the
 4
     Court has personal jurisdiction over Defendant, a substantial portion the alleged wrongdoing
 5
     occurred in this District and the state of Washington, and Defendant has sufficient contacts with
 6

 7   this District and the state of Washington.

 8           3.       Venue is proper in the Western District of Washington pursuant to 28 U.S.C.

 9   §1391(b)(2) because a substantial part of the events or omissions giving rise to the claims at
10   issue in this Complaint arose in this District. Plaintiff’s place of business is located in Seattle,
11
     Washington, King County. This action is therefore appropriately filed in the Seattle Division
12
     because a substantial portion of the events giving rise to this lawsuit arose in King County.
13
                                               III.    PARTIES
14
             4.       Plaintiff Germack owns and operates a dentistry practice located at 720 Olive
15

16   Way Ste. 835, Seattle, WA 98101.

17           5.       Defendant is an insurance carrier incorporated in California and whose
18   headquarters are located in Sacramento, California.
19
                                      IV.     NATURE OF THE CASE
20
             6.       Due to COVID-19 and a state-ordered mandated closure, Plaintiff cannot provide
21
     dental services. Plaintiff intended to rely on its business insurance to keep the business operating
22
     as a going concern. This lawsuit is filed to ensure that Plaintiff and other similarly-situated
23

24   policyholders receive the insurance benefits to which they are entitled and for which they paid.

25

26

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 1           7.       TDIC issued one or more insurance policies to Plaintiff, including an “all risk”
 2   Businessowners Property Coverage and related endorsements, insuring Plaintiff’s property and
 3
     business practice and other coverages at all relevant times.
 4
             8.       Plaintiff’s business property includes property owned and/or leased by Plaintiff
 5
     and used for general business purposes for the specific purpose of dental and other related
 6

 7   business activities.

 8           9.       TDIC Businessowners Property Coverage promises to pay Plaintiff for risks of

 9   “[a]ll risk of direct physical loss” to covered property and includes coverage for risks of both
10   “loss of or damage to” covered property.
11
             10.      TDIC’s Businessowners Property Coverage provides Plaintiff with Business
12
     Income Coverage, Extra Expense Coverage, Extended Business Income Coverage and Civil
13
     Authority Coverage.
14

15           11.      Plaintiff paid all premiums for the coverage when due.

16           12.      On or about January 2020, the United States of America saw its first cases of

17   persons infected by COVID-19, which has been designated a worldwide pandemic.
18
             13.      In light of this pandemic, Washington Governor Jay Inslee issued certain
19
     proclamations and orders affecting many persons and businesses in Washington, whether
20
     infected with COVID-19 or not, requiring certain public health precautions. Among other things,
21
     Governor Inslee’s “Stay Home, Stay Healthy” order required the closure of all non-essential
22

23   businesses, including Plaintiff’s business.

24           14.      By order of Governor Inslee, dentists including Plaintiff were prohibited from
25   practicing dental services but for urgent and emergency procedures.
26

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 1          15.     Governor Inslee’s “PROCLAMATION BY THE GOVERNOR AMENDING
 2   PROCLAMATION 20-05: 20-24 Restrictions on Non Urgent Medical Procedures,” dated March
 3
     19, 2020, also provides, in part:
 4
            WHEREAS, the health care person protective equipment supply chain in
 5          Washington State has been severely disrupted by the significant increased use of
            such equipment worldwide, such that there are now critical shortages of this
 6          equipment for health care workers. To curtail the spread of the COVID-19
            pandemic in Washington State and to protect our health care workers as they
 7
            provide health care services, it is necessary to immediately prohibit all hospitals,
 8          ambulatory surgery centers, and dental orthodontic, and endodontic offices in
            Washington State from providing health care services, procedures and surgeries
 9          that require personal protective equipment, which if delayed, are not anticipated
            to cause harm to the patient within the next three months.
10
            16.     No COVID-19 virus has been detected on Plaintiff’s business premises.
11

12          17.     Plaintiff’s property has sustained direct physical loss and/or damages related to

13   COVID-19 and/or the proclamations and orders.
14          18.     Plaintiff’s property will continue to sustain direct physical loss or damage covered
15
     by the TDIC policy or policies, including but not limited to business interruption, extra expense,
16
     interruption by civil authority, and other expenses.
17
            19.     Plaintiff’s property cannot be used for its intended purposes.
18
19          20.     As a result of the above, Plaintiff has experienced and will experience loss

20   covered by the TDIC policy or policies.

21          21.     Plaintiff called its insurance broker to inquire about business interruption
22   coverage under its business coverage policy and received a responsive email stating “there is no
23
     coverage for a pandemic.”
24

25

26

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 1          22.     TDIC notified its policyholders, including Plaintiff, by letter dated April 1, 2020,
 2   that “any Business Income losses or Extra Expenses that are incurred as a result of COVID-19
 3
     outbreaks are specifically excluded[.]”
 4
            23.     Upon information and belief, TDIC has denied and will deny coverage.
 5
                               V.      CLASS ACTION ALLEGATIONS
 6
            24.     This matter is brought by Plaintiff on behalf of itself and those similarly situated,
 7

 8   under Federal Rules of Civil Procedure 23(b)(1), 23(b)(2), and 23(b)(3).

 9          25.     The Classes and Subclasses that Plaintiff seeks to represent are defined as:

10                  A.     Business Income Coverage Breach of Contract Class: All persons and
11
            entities in the United States insured under a TDIC policy with Business Income Coverage
12
            who suffered a suspension of their business at the covered premises related to COVID-19
13
            and/or orders issued by Governor Inslee, other Governors, and/or other civil authorities
14
            and whose Business Income claim has been denied by TDIC.
15

16                  B.     Business Income Coverage Breach of Contract Washington Subclass:

17          All persons and entities in the State of Washington insured under a TDIC policy with
18          Business Income Coverage who suffered a suspension of their business at the covered
19
            premises related to COVID-19 and/or orders issued by Governor Inslee, and/or other civil
20
            authorities and whose Business Income claim has been denied by TDIC.
21
                    C.     Business Income Coverage Declaratory Relief Class: All persons and
22

23          entities in the United States insured under a TDIC policy with Business Income Coverage

24          who suffered a suspension of their business at the covered premises related to COVID-19

25          and/or orders issued by Governor Inslee, other Governors, and/or other civil authorities.
26

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 1                 D.     Business Income Coverage Declaratory Relief Washington Subclass: All
 2         persons and entities in the State of Washington insured under a TDIC policy with
 3
           Business Income Coverage who suffered a suspension of their business at the covered
 4
           premises related to COVID-19 and/or orders issued by Governor Inslee, and/or other civil
 5
           authorities.
 6

 7                 E.     Extra Expense Breach of Contract Class: All persons and entities in the

 8         United States insured under a TDIC policy with Extra Expense coverage who incurred

 9         expenses while seeking to minimize losses from the suspension of business at the covered
10         premises in connection with COVID-19 and/or orders issued by Governor Inslee, other
11
           Governors, and/or other civil authorities and whose Extra Expense claim has been denied
12
           by TDIC.
13
                   F.     Extra Expense Breach of Contract Washington Subclass: All persons
14

15         and entities in the State of Washington insured under a TDIC policy with Extra Expense

16         coverage who incurred expenses while seeking to minimize losses from the suspension of

17         business at the covered premises in connection with COVID-19 and/or orders issued by
18
           Governor Inslee, and/or other civil authorities and whose Extra Expense claim has been
19
           denied by TDIC.
20
                   G.     Extra Expense Declaratory Relief Class: All persons and entities in the
21
           United States insured under a TDIC policy with Extra Expense coverage who incurred
22

23         expenses while seeking to minimize losses from the suspension of their business at the

24         covered premises in connection with COVID-19 and/or orders issued by Governor Inslee,
25         other Governors, and/or other civil authorities.
26

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 1                 H.     Extra Expense Declaratory Relief Washington Subclass: All persons and
 2         entities in the State of Washington insured under a TDIC policy with Extra Expense
 3
           coverage who incurred expenses while seeking to minimize losses from the suspension of
 4
           their business at the covered premises in connection with COVID-19 and/or orders issued
 5
           by Governor Inslee, and/or other civil authorities.
 6

 7                 I.     Extended Business Income Breach of Contract Class: All persons and

 8         entities in the United States insured under a TDIC policy with Extended Business Income

 9         coverage who suffered a suspension of their business at the covered premises related to
10         COVID-19 and/or orders issued by Governor Inslee, other Governors, and/or other civil
11
           authorities and whose Extended Business Income claim has been denied by TDIC.
12
                   J.     Extended Business Income Breach of Contract Washington Subclass:
13
           All persons and entities in the State of Washington insured under a TDIC policy with
14

15         Extended Business Income coverage who suffered a suspension of their business at the

16         covered premises related to COVID-19 and/or orders issued by Governor Inslee, and/or

17         other civil authorities and whose Extended Business Income claim has been denied by
18
           TDIC.
19
                   K.     Extended Business Income Declaratory Relief Class: All persons and
20
           entities in the United States insured under a TDIC policy with Extended Business Income
21
           coverage who suffered a suspension of their business at the covered premises due to
22

23         COVID-19 related to COVID-19 and/or orders issued by Governor Inslee, other

24         Governors, and/or other civil authorities.
25                 L.     Extended Business Income Declaratory Relief Washington Subclass: All
26
           persons and entities in the State of Washington insured under a TDIC policy with

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 1         Extended Business Income coverage who suffered a suspension of their business at the
 2         covered premises due to COVID-19 related to COVID-19 and/or orders issued by
 3
           Governor Inslee, and/or other civil authorities
 4
                   M.     Civil Authority Breach of Contract Class: All persons and entities in the
 5
           United States insured under a TDIC policy with Civil Authority coverage who suffered a
 6

 7         loss of business income and/or extra expense related to the impact of COVID-19 and/or

 8         orders issued by Governor Inslee, other Governors, and/or other civil authorities and

 9         whose Civil Authority claim has been denied by TDIC.
10                 N.     Civil Authority Breach of Contract Washington Subclass: All persons
11
           and entities in the State of Washington insured under a TDIC policy with Civil Authority
12
           coverage who suffered a loss of business income and/or extra expense related to the
13
           impact of COVID-19 and/or orders issued by Governor Inslee, and/or other civil
14

15         authorities and whose Civil Authority claim has been denied by TDIC.

16                 O.     Civil Authority Declaratory Relief Class: All persons and entities in the

17         United States insured under a TDIC policy with Civil Authority coverage who suffered a
18
           loss of business income and/or extra expense related to COVID-19 and/or orders issued
19
           by Governor Inslee, other Governors, and/or other civil authorities.
20
                   P.     Civil Authority Declaratory Relief Washington Subclass: All persons and
21
           entities in the State of Washington insured under a TDIC policy with Civil Authority
22

23         coverage who suffered a loss of business income and/or extra expense related to the

24         impact of COVID-19 19 and/or orders issued by Governor Inslee, and/or other civil
25         authorities.
26

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 1          26.     Excluded from the Classes and Subclasses are Defendant’s officers, directors, and
 2   employees; the judicial officers and associated court staff assigned to this case; and the
 3
     immediate family members of such officers and staff. Plaintiff reserves the right to amend the
 4
     Class definition based on information obtained in discovery.
 5
            27.     This action may properly be maintained on behalf of each proposed Class under
 6

 7   the criteria of Rule 23 of the Federal Rules of Civil Procedure.

 8          28.     Numerosity: The members of the Class are so numerous that joinder of all

 9   members would be impractical. Plaintiff is informed and believes that the proposed Class
10   contains thousands of members. The precise number of class members can be ascertained
11
     through discovery, which will include Defendant’s records of policyholders.
12
            29.     Commonality and Predominance: Common questions of law and fact
13
     predominate over any questions affecting only individual members of the Class. Common
14

15   questions include, but are not limited to, the following:

16                  A.      Whether the class members suffered covered losses based on common

17          policies issued to members of the Class;
18
                    B.      Whether TDIC acted in a manner common to the class and wrongfully
19
            denied claims for coverage relating to COVID-19 and/or orders issued by Governor
20
            Inslee, other Governors, and/or other civil authorities;
21
                    C.      Whether Business Income coverage in TDIC’s policies of insurance
22

23          applies to a suspension of practice relating to COVID-19 and/or orders issued by

24          Governor Inslee, other Governors, and/or other civil authorities;
25

26

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 1                  D.      Whether Extra Expense coverage in TDIC’s policies of insurance applies
 2          to efforts to minimize a loss relating to COVID-19 and/or orders issued by Governor
 3
            Inslee, other Governors, and/or other civil authorities;
 4
                    E.      Whether Extended Business Income coverage in TDIC’s policies of
 5
            insurance applies to a suspension of practice relating to COVID-19 and/or orders issued
 6

 7          by Governor Inslee, other Governors, and/or civil authorities;

 8                  F.      Whether Civil Authority coverage in TDIC’s policies of insurance applies

 9          to a suspension of practice relating to COVID-19 and/or orders issued by Governor
10          Inslee, other Governors, and/or civil authorities;
11
                    G.      Whether TDIC has breached its contracts of insurance through a blanket
12
            denial of all claims based on business interruption, income loss or closures related to
13
            COVID-19 and/or orders issued by Governor Inslee, other Governors, and/or other civil
14

15          authorities;

16                  H.      Whether, because of Defendant’s conduct, Plaintiff and the class members

17          have suffered damages; and if so, the appropriate amount thereof; and
18
                    I.      Whether, because of Defendant’s conduct, Plaintiff and the class members
19
            are entitled to equitable and declaratory relief, and if so, the nature of such relief.
20
            30.     Typicality: Plaintiff’s claims are typical of the claims of the members of the
21
     classes. Plaintiff and all the members of the classes have been injured by the same wrongful
22

23   practices of TDIC. Plaintiff’s claims arise from the same practices and course of conduct that

24   give rise to the claims of the members of the Class and are based on the same legal theories.
25          31.     Adequacy: Plaintiff will fully and adequately assert and protect the interests of
26
     the classes and has retained class counsel who are experienced and qualified in prosecuting class

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 1   actions. Neither Plaintiff nor its attorneys have any interests contrary to or in conflict with the
 2   Class.
 3
              32.   Federal Rule of Civil Procedure 23(b)(1), the Risk of Inconsistent or Varying
 4
     Adjudications and Impairment to Other Class Members’ Interests: Plaintiff seeks
 5
     adjudication as to the interpretation, and resultant scope, of Defendant’s policies, which are
 6

 7   common to all members of the class. The prosecution of separate actions by individual members

 8   of the classes would risk inconsistent or varying interpretations of those policy terms and create

 9   inconsistent standards of conduct for Defendant. The policy interpretations sought by Plaintiff
10   could also impair the ability of absent class members to protect their interests.
11
              33.   Federal Rule of Civil Procedure 23(b)(2), Declaratory and Injunctive Relief:
12
     Defendant acted or refused to act on grounds generally applicable to Plaintiff and other members
13
     of the proposed classes making injunctive relief and declaratory relief appropriate on a classwide
14

15   basis.

16            34.   Federal Rule of Civil Procedure 23(b)(3), Superiority: A class action is

17   superior to all other available methods of the fair and efficient adjudication of this lawsuit. While
18
     the aggregate damages sustained by the classes are likely to be in the millions of dollars, the
19
     individual damages incurred by each class member may be too small to warrant the expense of
20
     individual suits. Individual litigation creates a risk of inconsistent and/or contradictory decisions
21
     and the court system would be unduly burdened by individual litigation of such cases. A class
22

23   action would result in a unified adjudication, with the benefits of economies of scale and

24   supervision by a single court.
25

26

     COMPLAINT—CLASS ACTION - 11                                          K E L L E R R O H R B AC K    L.L.P.
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 1                                    VI.       CAUSES OF ACTION
 2                                 Count One—Declaratory Judgment
 3              (Brought on behalf of the Business Income Coverage Declaratory Relief Class,
 4      Business Income Coverage Declaratory Relief Washington Subclass, Extended Business
      Income Declaratory Relief Class, Extended Business Income Declaratory Relief Washington
 5       Subclass, Civil Authority Declaratory Relief Class, Civil Authority Declaratory Relief
          Washington Subclass, Extra Expense Declaratory Relief Class, and Extra Expense
 6                            Declaratory Relief Washington Subclass)
 7          35.     Previous paragraphs alleged are incorporated herein.
 8
            36.     This is a cause of action for declaratory judgment pursuant to the Declaratory
 9
     Judgment Act, codified at 28 U.S.C. § 2201.
10
            37.     Plaintiff brings this cause of action on behalf of the Business Income Coverage
11

12   Declaratory Relief Class, Business Income Coverage Declaratory Relief Washington Subclass,

13   Extended Business Income Declaratory Relief Class, Extended Business Income Declaratory

14   Relief Washington Subclass, Civil Authority Declaratory Relief Class, Civil Authority
15   Declaratory Relief Washington Subclass, Extra Expense Declaratory Relief Class, and Extra
16
     Expense Declaratory Relief Washington Subclass.
17
            38.     Plaintiff seeks a declaratory judgment declaring that Plaintiff’s and class members
18
     losses and expenses resulting from the interruption of their business are covered by the Policy.
19

20          39.     Plaintiff seeks a declaratory judgment declaring that TDIC is responsible for

21   timely and fully paying all such claims.

22                                  Count Two—Breach of Contract
23
              (Brought on behalf of the Business Income Coverage Breach of Contract Class,
24     Business Income Coverage Breach of Contract Washington Subclass, Extended Business
     Income Breach of Contract Class, Extended Business Income Breach of Contract Washington
25      Subclass, Civil Authority Breach of Contract Class, Civil Authority Breach of Contract
     Washington Subclass, Extra Expense Breach of Contract Class, and Extra Expense Breach of
26                                 Contract Washington Subclass)

     COMPLAINT—CLASS ACTION - 12                                        K E L L E R R O H R B AC K    L.L.P.
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 1             40.    Previous paragraphs alleged are incorporated herein.
 2             41.    Plaintiff brings this cause of action on behalf of the Business Income Coverage
 3
     Breach of Contract Class, Business Income Coverage Breach of Contract Washington Subclass,
 4
     Extended Business Income Breach of Contract Class, Extended Business Income Breach of
 5
     Contract Washington Subclass, Civil Authority Breach of Contract Class, Civil Authority Breach
 6

 7   of Contract Washington Subclass, Extra Expense Breach of Contract Class, and Extra Expense

 8   Breach of Contract Washington Subclass.

 9             42.    The Policy is a contract under which Plaintiff and the class paid premiums to
10   TDIC in exchange for TDIC’s promise to pay Plaintiff and the class for all claims covered by the
11
     Policy.
12
               43.    Plaintiff has paid its insurance premiums.
13
               44.    Upon information and belief, TDIC denied coverage for other similarly situated
14

15   policyholders.

16             45.    Denying coverage for the claim is a breach of the insurance contract.

17             46.    Plaintiff is harmed by the breach of the insurance contract by TDIC.
18
                                               VII.   PRAYER
19
               1.     A declaratory judgment that the policy or policies cover Plaintiff’s losses and
20
     expenses resulting from the interruption of Plaintiff’s business related to COVID-19 and/or
21
     orders issued by Governor Inslee, other Governors, and/or other authorities.
22

23             2.     A declaratory judgment that the defendant is responsible for timely and fully

24   paying all such losses.

25             3.     Damages.
26             4.     Pre- and post-judgment interest at the highest allowable rate.

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 1            5.       Reasonable attorney fees and costs.
 2            6.       Such further and other relief as the Court shall deem appropriate.
 3
                                            VIII. JURY DEMAND
 4
              Plaintiff demands a jury trial on all claims so triable.
 5
               DATED this 30th day of April, 2020.
 6
      StandardSig                                      KELLER ROHRBACK L.L.P.
 7

 8                                                     By: s/ Ian S. Birk
                                                       By: s/ Lynn L. Sarko
 9                                                     By: s/ Gretchen Freeman Cappio
                                                       By: s/ Irene M. Hecht
10                                                     By: s/ Maureen Falecki
                                                       By: s/ Amy Williams-Derry
11                                                     By: s/ Nathan Nanfelt______________________
                                                           Ian S. Birk, WSBA #31431
12                                                         Lynn L. Sarko, WSBA #16569
                                                           Gretchen Freeman Cappio, WSBA #29576
13                                                         Irene M. Hecht, WSBA #11063
                                                           Maureen Falecki, WSBA #18569
14                                                         Amy Williams-Derry, WSBA #28711
                                                           Nathan L. Nanfelt, WSBA #45273
15                                                         1201 Third Avenue, Suite 3200
                                                           Seattle, WA 98101
16                                                         Telephone: (206) 623-1900
                                                           Fax: (206) 623-3384
17                                                         Email: ibirk@kellerrohrback.com
                                                           Email: lsarko@kellerrohrback.com
18                                                         Email: gcappio@kellerrohrback.com
                                                           Email: ihecht@kellerrohrback.com
19                                                         Email: mfalecki@kellerrohrback.com
                                                           Email: awilliams-derry@kellerrrohrback.com
20                                                         Email: nnanfelt@kellerrrohrback.com
21                                                     By: s/ Alison Chase (Pro hac applic. to be filed)
                                                           Alison Chase, CA Bar #226976
22                                                         801 Garden Street, Suite 301
                                                           Santa Barbara, CA 93101
23                                                         Email: achase@kellerrohrback.com
                                                           Telephone: (805) 456-1496
24                                                         Fax: (805) 456-1497
25                                                           Attorneys for Plaintiff
26   4812-0937-9003, v. 2


     COMPLAINT—CLASS ACTION - 14                                            K E L L E R R O H R B AC K    L.L.P.
                                                                                1201 Third A venue, Suite 3200
                                                                                   Seattle, W A 98101-3052
                                                                                TELEPHONE: (206) 623-1900
                                                                                FACSIMILE : (206) 623-3384
